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 1                                                          JUDGE RONALD B. LEIGHTON
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 5

 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT TACOMA
 8
     UNITED STATES OF AMERICA,                   )     NO. CR05-5823RBL
 9                                               )
                     Plaintiff,                  )
10                                               )     ORDER GRANTING MOTION TO
                     vs.                         )     CONTINUE TRIAL DATE
11                                               )
     JACOB R. GARDNER, et al.,                   )
12                                               )
                     Defendants.                 )
13                                               )
                                                 )
14

15          Based on the motion of defendant Jacob R. Gardner, the declaration of defense
16 counsel, the waiver of speedy trial filed by Mr. Gardner, and the records and files herein,

17 the Court makes the following findings of fact and conclusions of law:

18          1. The ends of justice served by granting this continuance outweigh the best
19 interests of the public and the defendants in a speedy trial. 18 U.S.C. § 3161(h)(8)(A).

20          2. Proceeding to trial absent adequate time for the defense to prepare would
21 result in a miscarriage of justice. 18 U.S.C. §3161(h)(8)(B)(i).

22          3. The defense needs additional time to explore issues of some complexity,
23 including all relevant issues and defenses applicable to the case, which would make it

24 unreasonable to expect adequate preparation for pretrial proceedings or for trial itself

25 within the time limits established by the Speedy Trial Act and currently set for this case.

26 18 U.S.C. § 3161(h)(8)(B)(ii).

     ORDER GRANTING MOTION                                              FEDERAL PUBLIC DEFENDER
                                                                                     1331 Broadway, Ste. 400
     TO CONTINUE TRIAL DATE                           1                          Tacoma, Washington 98402
     U.S. v. Gardner, et al.; CR05-5823RBL                                                   (253) 593-6710
            Case 3:05-cr-05823-RBL           Document 63   Filed 03/20/06   Page 2 of 2



 1          4. Taking into account the exercise of due diligence, a continuance is necessary
 2 to allow the defendants the reasonable time for effective preparation his defense. 18

 3 U.S.C. § 3161(h)(8)(B)(iv).

 4          NOW, THEREFORE,
 5          IT IS HEREBY ORDERED that the trial date is continued from May 15, 2006 to
 6 June 12, 2006, at 9:30 am. The resulting period of delay from May 15, 2006, to

 7 June 12, 2006 is hereby excluded for speedy trial purposes under 18 U.S.C. §

 8 3161(h)(8)(A) and (B).

 9          Pre-trial motions are due no later than May 1, 2006.
10          Pre-trial conference shall be on June 6, 2006, at 9:00 am.
11          A Motion hearing, if needed, shall be conducted on June 1, 2006 at 9:00 a.m.
12          DONE this 20th day of March, 2006.
13



                                                 A
14          IT IS SO ORDERED this 20th day of March, 2006.
15
                                                 RONALD B. LEIGHTON
16                                               UNITED STATES DISTRICT JUDGE
17 Presented By:

18
     /s
19 Russell V. Leonard
     Attorney for Jacob R. Gardner
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     ORDER GRANTING MOTION                                               FEDERAL PUBLIC DEFENDER
                                                                                     1331 Broadway, Ste. 400
     TO CONTINUE TRIAL DATE                           2                          Tacoma, Washington 98402
     U.S. v. Gardner, et al.; CR05-5823RBL                                                   (253) 593-6710
